              Case
               Case2:19-cr-00101-RSL
                    2:19-cr-00101-RSL Document
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 1                                                      The Honorable Michelle L. Peterson
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 7                          UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
 8
                                        AT SEATTLE
 9
10    UNITED STATES OF AMERICA,                       NO. CR19-101 RSL
11                              Plaintiff
                                                      ORDER TO SEAL
12                         v.
13    TRAVIS W. PRUETT,
14
                                Defendant.
15
16          Having read the Government’s Motion to Seal and due to the sensitive information
17 contained therein, it is hereby ORDERED that Exhibit 1 to the Government’s Opposition
18 to Defendant’s Motion to Reopen Detention Hearing shall remain sealed.
19        DATED this 19th day of October, 2020.
20
21
22                                                  Robert S. Lasnik
                                                    United States District Judge
23
24 Presented by:
25
   s/ Casey S. Conzatti
26 CASEY S. CONZATTI
   Assistant United States Attorney
27
28
                                                                          UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     Order to Seal                                                         SEATTLE, WASHINGTON 98101
     U.S. v. Travis Pruett, CR19-101 RSL - 1                                     (206) 553-7970
